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                                                                      Weneta M.A. Kosmala
                                                                    7

                                                                    8                          UNITED STATES BANKRUPTCY COURT

                                                                    9                           CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                   SANTA ANA DIVISION

                                                                   11 In re                                       Case No. 8:17-bk-14396-ES
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 STYLES FOR LESS, INC., a California         Chapter 7
                               650 Town Center Drive, Suite 600




                                                                      corporation,
                                  Costa Mesa, California 92626




                                                                   13                                             NOTICE OF MOTION AND MOTION OF
                                                                                   Debtor.                        CHAPTER 7 TRUSTEE FOR AN ORDER
                                                                   14                                             APPROVING THE SALE OF CERTAIN
                                                                                                                  ASSETS OF THE DEBTOR’S ESTATE
                              Tel 714-966-1000




                                                                   15                                             FREE AND CLEAR OF LIENS, CLAIMS,
                                                                                                                  INTERESTS, AND ENCUMBRANCES
                                                                   16                                             PURSUANT TO 11 U.S.C. §§ 105 AND 363
                                                                                                                  AND RELATED RELIEF; MEMORANDUM
                                                                   17                                             OF POINTS AND AUTHORITIES; AND
                                                                                                                  DECLARATION OF WENETA M.A.
                                                                   18                                             KOSMALA IN SUPPORT THEREOF

                                                                   19                                              Date: July 21, 2022
                                                                                                                   Time: 10:30 a.m.
                                                                   20                                              Place: Courtroom 5A – Via ZoomGov

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                                                                    1 TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY JUDGE,
                                                                      THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL OTHER INTERESTED
                                                                    2 PARTIES:

                                                                    3               PLEASE TAKE NOTICE that Weneta M.A. Kosmala, chapter 7 trustee (“Trustee” or

                                                                    4 “Seller”) for the bankruptcy estate (“Estate”) of the captioned debtor, hereby brings this motion

                                                                    5 (“Motion”) pursuant to 11 U.S.C. §§ 363(b), (f), and (m), Rule 6004 of the Federal Rules of

                                                                    6 Bankruptcy Procedure, and Local Bankruptcy Rule 6004-1(c), for entry of an order approving the

                                                                    7 sale of the Estate’s right, title, and interest in and to the remaining property of the Estate, consisting

                                                                    8 of known and unknown assets or claims, which have not been previously sold, assigned, or

                                                                    9 transferred (collectively, “Remnant Assets”), subject to certain exclusions as set forth herein, free

                                                                   10 and clear of liens, claims, interests and encumbrances.

                                                                   11               PLEASE TAKE FURTHER NOTICE that the Trustee has agreed, subject to the Court’s
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                                                                   12 approval, to sell the Remnant Assets to Oak Point Partners, LLC, a Delaware limited liability
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 company (“Oak Point”), on the terms set forth in the asset purchase agreement (“Purchase

                                                                   14 Agreement”), attached as Exhibit “A” to the Declaration of Weneta M.A. Kosmala
                              Tel 714-966-1000




                                                                   15 (“Declaration”). Oak Point’s address is 5215 Old Orchard Rd., Suite 1000, Skokie, Illinois, 60077.

                                                                   16 Pursuant to the terms of the Purchase Agreement, Oak Point shall pay the Estate $15,000

                                                                   17 (“Purchase Price”) for the Remnant Assets. The Purchase Price shall be due within three business

                                                                   18 days after the Court enters an order approving this Motion. The Remnant Assets specifically

                                                                   19 exclude: (a) cash held at the time of the Purchase Agreement in the Trustee’s fiduciary bank

                                                                   20 account for the Debtor’s case; provided, however, that any cash that exists in such bank account

                                                                   21 one year from the date of the closing of the Debtor’s case, except as provided in sub provision (b)

                                                                   22 herein, shall be Remnant Assets; (b) any returned or undeliverable creditor claim distribution

                                                                   23 checks that require administration in accordance with 11 U.S.C. § 347(a); (c) any and all Goods1

                                                                   24 (e.g., office furniture) of the Debtor; (d) the books and records used by the Debtor in the ordinary

                                                                   25 course of business, but excluding any recent statements, notices or correspondence received by the

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                                                                                The term “Goods” as used herein shall have the meaning ascribed to it under § 9-102(a)(44) of the Uniform
                                                                   28 Commercial Code.
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                                                                    1 Seller relating to Remnant Assets specifically acquired in this Purchase Agreement; and (e) the

                                                                    2 Purchase Price. The only contingency to which the sale is subject is this Court’s approval. The

                                                                    3 Estate will not have to pay any commissions, fees, or other costs of sale, except for the cost of

                                                                    4 filing and serving the Motion and related documents.

                                                                    5               PLEASE TAKE FURTHER NOTICE that the sales of the Remnant Assets to Oak Point

                                                                    6 pursuant to the terms set forth herein and in the Purchase Agreement are subject to overbid. In the

                                                                    7 event a party other than Oak Point (each, a “Competing Bidder”) wishes to purchase the Remnant

                                                                    8 Assets, the Trustee requests that the Court approve the following overbid procedures (collectively,

                                                                    9 “Bidding Procedures”):

                                                                   10                  a. Each Competing Bidder who wants to participate in the overbid process must submit

                                                                   11                     an overbid in writing to the Trustee and Oak Point on or before two days prior to the
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                                                                   12                     hearing on the Motion (i.e., July 19, 2022, the “Response Deadline”);
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                                                                   13                  b. the first overbid by a Competing Bidder for the Remnant Assets must be at least

                                                                   14                     $3,750 more than the Purchase Price, or a total of $18,750;
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                                                                   15                  c. each Competing Bidder must also submit a Cashier’s Check to the Trustee in the

                                                                   16                     amount of such Competing Bidder’s first overbid at the time such overbid is

                                                                   17                     submitted;

                                                                   18                  d. any Competing Bidder for the Remnant Assets must purchase the Remnant Assets

                                                                   19                     under the same terms and conditions set forth in the Purchase Agreement, other than

                                                                   20                     the Purchase Price;

                                                                   21                  e. in the event the Trustee receives a qualified overbid that meets the foregoing

                                                                   22                     conditions (“Qualified Overbid”), the Trustee will notify Oak Point and any

                                                                   23                     Competing Bidders and an auction will be held at the hearing on this Motion on July

                                                                   24                     21, 2022 at 10:30 a.m.;

                                                                   25                  f. each subsequent overbid will be in $500 increments; and

                                                                   26                  g. at the time of the hearing on the Motion, the Trustee will request that the Court

                                                                   27                     approve the winning bidder as the purchaser and may designate a back-up bidder. If

                                                                   28                     no Qualified Overbid is received, the Trustee will request that the Court grant the
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                                                                    1                     Motion and approve the sale of the Remnant Assets to Oak Point pursuant to the

                                                                    2                     terms of the Purchase Agreement.

                                                                    3                  h. Any deposit received by the Trustee from a Competing Bidder that is not the

                                                                    4                     successful bidder will be returned to the Competing Bidder.

                                                                    5               PLEASE TAKE FURTHER NOTICE that the Trustee believes the proposed sale is in the

                                                                    6 best interest of the Estate and should be approved under 11 U.S.C. § 363(b). There may be a single

                                                                    7 asset consisting of a potential recovery from a class action lawsuit for which there are no other

                                                                    8 offers to purchase, and the timing of resolution is uncertain. Therefore, in the absence of the Oak

                                                                    9 Point purchase offer, the Estate likely would have derived no economic benefit from the Remnant

                                                                   10 Assets. In contrast, the proposed sale will provide the Estate with an immediate cash payment.

                                                                   11 The sale will also complete the administration of the Estate’s assets, permitting the trustee to file
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                                                                   12 the final report, distribute the funds in the Estate, and close the case.
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                                                                   13               PLEASE TAKE FURTHER NOTICE that the Trustee seeks a waiver of the 14-day stay

                                                                   14 on the effectiveness of the sale order imposed by Federal Rule of Bankruptcy Procedure 6004(h) so
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                                                                   15 that the sale can close immediately.

                                                                   16               PLEASE TAKE FURTHER NOTICE that the Trustee does not anticipate that the sale

                                                                   17 will create any tax consequences for the Estate.

                                                                   18               PLEASE TAKE FURTHER NOTICE that this Motion is based upon the accompanying

                                                                   19 Memorandum of Points and Authorities and Declaration, and any additional evidence, grounds, and

                                                                   20 argument that may be properly presented to the Court.

                                                                   21               PLEASE TAKE FURTHER NOTICE that any response or opposition to this Motion

                                                                   22 must be in writing, must otherwise comply with Local Bankruptcy Rule 9013, and must be filed

                                                                   23 with the Court and served upon (i) the Trustee, (ii) her counsel at the address set forth in the upper

                                                                   24 left-hand corner of the first page of this Notice; (iii) Oak Point (by mail and email), Janice A.

                                                                   25 Alwin, Chief Legal Officer, Oak Point Partners, LLC, 5215 Old Orchard Rd., Suite 1000, Skokie,

                                                                   26 IL 60077, janice@oakpointpartners.com, and (iv) the Office of the United States Trustee no later

                                                                   27 than fourteen (14) days before the date of the hearing on this Motion (“Response Deadline”). A

                                                                   28 judge’s copy of the opposition must be delivered to the chambers of the Honorable Erithe A. Smith
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                                                                    1 if over 200 pages, including exhibits. Pursuant to Local Bankruptcy Rule 9013-1(h), the failure to

                                                                    2 timely file and serve a written opposition may be deemed by the Court to be consent to the granting

                                                                    3 of the relief requested herein.

                                                                    4               PLEASE TAKE FURTHER NOTICE that a hearing on the Motion is scheduled to occur

                                                                    5 on July 21, 2022, at 10:30 a.m. (prevailing Pacific Time).

                                                                    6               PLEASE TAKE FURTHER NOTICE that because of the COVID-19 pandemic, the

                                                                    7 Court will conduct the hearing using ZoomGov audio and video technology. Information on how to

                                                                    8 participate in the hearing using ZoomGov is provided below:

                                                                    9               1.    Hearing participants and members of the public may participate in and/or observe

                                                                   10 the hearing using ZoomGov, free of charge.

                                                                   11               2.    Individuals may connect by ZoomGov audio and video using a personal computer
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                                                Fax 714-966-1002




                                                                   12 (equipped with camera, microphone and speaker), or a handheld mobile device with an integrated
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                                  Costa Mesa, California 92626




                                                                   13 camera, microphone and speaker (such as an iPhone, iPad, Android phone or Android tablet). The

                                                                   14 connection can be initiated by entering the “Meeting URL” into a web browser on any of these
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                                                                   15 devices, provided the device is connected to the Internet. Individuals connecting in this manner will

                                                                   16 be prompted for the Meeting ID and Password shown below.

                                                                   17               3.    Individuals also may connect to the hearing by telephone only, using the telephone

                                                                   18 number provided below. Individuals connecting in this manner also will be prompted for the

                                                                   19 Meeting ID and Password.

                                                                   20               4.    Neither a Zoom nor a ZoomGov account is necessary to participate in or observe the

                                                                   21 hearing, and no pre-registration is required.

                                                                   22               5.    The audio portion of the hearing will be recorded electronically by the Court and

                                                                   23 constitute its official record.

                                                                   24               6.    All persons are strictly prohibited from making any other recording of court

                                                                   25 proceedings, whether by video, audio, “screenshot,” or otherwise. Violation of this prohibition may

                                                                   26 result in the imposition of monetary and non-monetary sanctions.

                                                                   27               7.    The following is the unique ZoomGov connection information for the above

                                                                   28 referenced hearing:
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                                                                    1               Meeting URL: https://cacb.zoomgov.com/j/1610141306

                                                                    2               Meeting ID: 161 014 1306

                                                                    3               Password: 644417

                                                                    4               Telephone conference lines: 1 (669) 254-5252 or 1 (646) 828-7666

                                                                    5               8.     More information on using ZoomGov to participate in this hearing is available on

                                                                    6 the Court's website at the following web address: https://www.cacb.uscourts.gov/news/zoom-

                                                                    7 video-hearing-guide-participants.

                                                                    8                                                       Respectfully submitted,

                                                                    9 Dated: June 27, 2022                                  WEILAND GOLDEN GOODRICH LLP

                                                                   10

                                                                   11                                                       By: /s/ Beth E. Gaschen
                                                                                                                                JEFFREY I. GOLDEN
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12                                                           BETH E. GASCHEN
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                                                                                Attorneys for Chapter 7 Trustee
                                                                   13                                                           Weneta M.A. Kosmala

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                              Tel 714-966-1000




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                                                                    1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                    2 I.            JURISDICTION

                                                                    3               The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This

                                                                    4 matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue of this proceeding and

                                                                    5 this Motion is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory

                                                                    6 predicates for the relief sought herein are 11 U.S.C. §§ 105(a) and 363, as well as Rules 2002 and

                                                                    7 6004 of the Federal Rules of Bankruptcy Procedure.

                                                                    8 II.           BACKGROUND

                                                                    9               On or about November 6, 2017, the Debtor filed a voluntary petition for relief under chapter

                                                                   10 11 of the Bankruptcy Code. On or about September 11, 2018, the Debtor’s bankruptcy case was

                                                                   11 converted to one under chapter 7 of the Bankruptcy Code, and on or about September 12, 2018, the
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                                                                   12 Trustee was appointed as chapter 7 trustee for the Debtor’s Estate.
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                                                                   13               Since being appointed, the Trustee has administered the Debtor’s Estate for the benefit of

                                                                   14 its creditors in accordance with the Trustee’s power and duties. The Trustee is now in the process
                              Tel 714-966-1000




                                                                   15 of winding down the administration of this case. To that end, the Trustee is engaged in efforts to

                                                                   16 ensure that the maximum value of the Estate’s remaining assets is realized, which efforts include

                                                                   17 pursuing the sale of any remaining assets.

                                                                   18               The Trustee has determined that there might exist property of the Debtor’s Estate,

                                                                   19 consisting of known or unknown assets or claims, which have not been previously sold, assigned,

                                                                   20 or transferred (previously defined as, “Remnant Assets”). Potential unknown assets might include

                                                                   21 unscheduled refunds, overpayments, deposits, judgments, claims, or other payment rights that

                                                                   22 would accrue in the future.

                                                                   23               The Trustee has conducted due diligence and is aware of one potential Remnant Asset. The

                                                                   24 Estate is a class member in, and a potential beneficiary of, a consolidated class action lawsuit

                                                                   25 known as In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation (Case

                                                                   26 No. 1:05-md-01720-MKB-VMS), filed in the United States District Court for the Eastern District

                                                                   27 of New York (“Litigation”) in which all businesses that accepted Visa and/or MasterCard between

                                                                   28 January 2004 and January 2019 are eligible claimants. If there is a judgment in favor of the
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                                                                    1 plaintiffs in the Litigation and such Litigation results in a settlement, or the Litigation and the

                                                                    2 operative facts, causes of action and/or types of claims for relief alleged therein are otherwise

                                                                    3 resolved in any way or by any forum in favor of putative class members, the Estate may be entitled

                                                                    4 to a monetary recovery. As a member of the plaintiff class (“Class”) in the Litigation, the Trustee

                                                                    5 has a right, now or in the future, to benefits arising from the Litigation, including the right to a

                                                                    6 monetary recovery. The settlement of the Litigation currently is on appeal, and the timing of the

                                                                    7 resolution of that appeal and/or the Litigation is uncertain. This asset was not listed by the Debtor

                                                                    8 in its bankruptcy schedules. The Trustee received a previous offer on the Litigation that was

                                                                    9 withdrawn. Based upon the uncertainty as to any collection on the Litigation, the timing of any

                                                                   10 such payout, and the fact that the only party interested in making an offer on the Litigation

                                                                   11 withdrew the offer, the Trustee has determined that the cost of pursuing the Remnant Assets will
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                                                                   12 likely exceed the benefit that the Estate would possibly receive on account of the Remnant Assets.
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                                                                   13               Remnant Asset sales have become commonplace at the close of commercial bankruptcy

                                                                   14 cases because they allow for additional funds to be brought into the estate, while simultaneously
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                                                                   15 avoiding the expense and burdens associated with reopening cases for later-discovered assets. Such

                                                                   16 sales provide a prudent way to fully and finally administer all assets of a debtor’s estate.2

                                                                   17               The Trustee and Oak Point have negotiated the Purchase Agreement for the sale of the

                                                                   18 Remnant Assets, substantially in the form attached as Exhibit A to the Declaration.

                                                                   19

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                                                                   22       2
                                                                               For remnant asset sales previously approved in this Court, see In re Raymond Express International, LLC, Case
                                                                        No. 2:18-BK-11909-ER, Dkt. No. 150 (Dec. 3, 2020); In re Winters-Schram & Associates, Case No. 1:19-bl-11777-
                                                                   23   VK, Dkt. No. 66 (Sept. 29, 2020); In re Golden Vista Construction, Inc., Case No. 2:17-bk-22362-BB, Dkt. No. 161
                                                                        (Apr. 15, 2020); In re JW Wireless Inc., Case No. 2:16-BK-16496-ER, Dkt. No. 96 (Feb. 14, 2020); In re Stellar
                                                                   24   Connections, Inc., Case No. 2:16-bk-16495-VZ, Dkt. No. 70 (Feb. 14, 2020); In re Corona Care Convalescent
                                                                        Corporation, Case No. 2:13-bk-28497-RK (Dec. 4, 2019); In re Silla Automotive, LLC, Case No. 2:17-bk-14364-ER,
                                                                   25   Dkt. No. 187 (Sept. 5, 2019); In re Sheffield Manufacturing, Inc., Case No. 1:16-bk-10909-MT, Dkt. No. 30 (Apr. 24,
                                                                        2019); In re Fortune Manufacturing, Inc., Case No. 1:16-bk-10933-MT, Dkt. No. 36 (Apr. 24, 2019); In re Genius
                                                                   26   Products, LLC, Case No. 2:11-bk-62283-BB, Dkt. No. 207 (Dec. 19, 2018); In re Robert W. Hunt, MD, Case No. 2:11-
                                                                        BK-58228-ER, Dkt. No. 681 (Sept. 21, 2018); In re KSL Media, Inc., et al., Case No. 1:13-bk-15929-MB, Dkt. No.
                                                                   27   2661 (Aug. 16, 2018); In re PCA Aerostructures Company, Case No. 8:16-bk-10738-SC, Dkt. No. 101 (Jul. 20, 2018);
                                                                        In re Notis Enterprises, Inc., Case No. 1:16-bk-11388-MT, Dkt. No. 34 (May 25, 2018); and In re IndyMac Bancorp
                                                                   28   Inc., Case No. 2:08-bk-21752-BB, Dkt. No. 995 (Jun. 15, 2016).
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                                                                    1 III.          SUMMARY OF THE TERMS OF THE PURCHASE AGREEMENT

                                                                    2               Oak Point, whose address is 5215 Old Orchard Rd., Suite 1000, Skokie, Illinois, 60077, has

                                                                    3 offered to Purchase the Remnant Assets, and the Trustee has accepted that offer. The salient terms

                                                                    4 of the Purchase Agreement are as follows:

                                                                    5                   a. The Purchase Agreement and sale are subject to and contingent upon entry of an

                                                                    6                       order approving the Purchase Agreement.

                                                                    7                   b. The Trustee agrees to sell, assign, transfer, and convey to Oak Point all of the

                                                                    8                       Trustee’s right, title and interest under, in and to the Remnant Assets, as well as any

                                                                    9                       and all claims and rights related to the Remnant Assets, including, without

                                                                   10                       limitation, all cash, securities, instruments and other property that may be paid or

                                                                   11                       issued in conjunction with the Remnant Assets and all amounts, interest, and costs
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                                                                   12                       due under the Remnant Assets, for the Purchase Price of $15,000 for all Remnant
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                                                                   13                       Assets to be paid by Oak Point to the Trustee for the benefit of the Debtor’s Estate

                                                                   14                       within 3 business days after the Court enters an order approving this Motion.
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                                                                   15                   c. The Remnant Assets specifically exclude (a) cash held at the time of the Purchase

                                                                   16                       Agreement in the Trustee’s fiduciary bank account for the Debtor’s case; provided,

                                                                   17                       however, that any cash that exists in such bank account one year from the date of the

                                                                   18                       closing of the Debtor’s case, except as provided in sub provision (b) herein, shall be

                                                                   19                       Remnant Assets; (b) any returned or undeliverable creditor claim distribution checks

                                                                   20                       that require administration in accordance with 11 U.S.C. § 347(a); (c) any and all

                                                                   21                       Goods3 (e.g., office furniture) of the Debtor; (d) the books and records used by the

                                                                   22                       Debtor in the ordinary course of business, but excluding any recent statements,

                                                                   23                       notices or correspondence received by the Seller relating to Remnant Assets

                                                                   24                       specifically acquired in this Agreement; and (e) the Purchase Price for the Remnant

                                                                   25                       Assets.

                                                                   26

                                                                   27
                                                                             3
                                                                                 The term “Goods” as used herein shall have the meaning ascribed to it under § 9-102(a)(44) of the Uniform
                                                                   28 Commercial Code.
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                                                                    1                  d. The sale is as is, where is, without any representations or warrants, but free and clear

                                                                    2                      of any and all liens, claims, or encumbrances, pursuant to 11 U.S.C. §§ 363(b) and

                                                                    3                      (f).

                                                                    4               The complete terms of the sale are set out in the Purchase Agreement which is attached to

                                                                    5 the Declaration as Exhibit A.

                                                                    6 IV.           BIDDING PROCEDURES

                                                                    7               While the Trustee is prepared to consummate the sale of the Remnant Assets to Oak Point

                                                                    8 pursuant to the terms set forth herein and in the Purchase Agreement, in the event a party other than

                                                                    9 Oak Point (each, a “Competing Bidder”) wishes to purchase the Remnant Assets, the Trustee

                                                                   10 requests that the Court approve the following overbid procedures (collectively, “Bidding

                                                                   11 Procedures”):
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                                                                   12                  a. Each Competing Bidder who wants to participate in the overbid process must submit
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                                                                   13                      an overbid in writing to the Trustee and Oak Point on or before two days prior to the

                                                                   14                      hearing on the Motion (i.e., July 19, 2022, the “Response Deadline”);
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                                                                   15                  b. the first overbid by a Competing Bidder for the Remnant Assets must be at least

                                                                   16                      $3,750 more than the Purchase Price, or a total of $18,750;

                                                                   17                  c. each Competing Bidder must also submit a Cashier’s Check to the Trustee in the

                                                                   18                      amount of such Competing Bidder’s first overbid at the time such overbid is

                                                                   19                      submitted;

                                                                   20                  d. any Competing Bidder for the Remnant Assets must purchase the Remnant Assets

                                                                   21                      under the same terms and conditions set forth in the Purchase Agreement, other than

                                                                   22                      the Purchase Price;

                                                                   23                  e. in the event the Trustee receives a qualified overbid that meets the foregoing

                                                                   24                      conditions (“Qualified Overbid”), the Trustee will notify Oak Point and any

                                                                   25                      Competing Bidders and an auction will be held at the hearing on this Motion on July

                                                                   26                      21, 2022 at 10:30 a.m.;

                                                                   27                  f. each subsequent overbid will be in $500 increments; and

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                                                                    1                  g. at the time of the hearing on the Motion, the Trustee will request that the Court

                                                                    2                      approve the winning bidder as the purchaser and may designate a back-up bidder.

                                                                    3                      If no Qualified Overbid is received, the Trustee will request that the Court grant the

                                                                    4                      Motion and approve the sale of the Remnant Assets to Oak Point pursuant to the

                                                                    5                      terms of the Purchase Agreement.

                                                                    6                  h. Any deposit received by the Trustee from a Competing Bidder that is not the

                                                                    7                      successful bidder will be returned to the Competing Bidder.

                                                                    8               The Trustee believes that the sale of the Remnant Assets in accordance with the terms of the

                                                                    9 Purchase Agreement, and as provided herein, serves the best interests of the Debtor’s Estate and

                                                                   10 creditors, as the sale will allow the Trustee to realize additional funds for the benefit of the Estate.

                                                                   11 Accordingly, the sale to Oak Point should be approved as requested.
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                                                                   12 V.            THE TRUSTEE MAY SELL PROPERTY OF THE ESTATE PURSUANT TO 11
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                                                                   13               U.S.C. § 363(B)

                                                                   14               Section 363(b)(1) of the Bankruptcy Code provides that “[t]he trustee, after notice and a
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                                                                   15 hearing, may use, sell or lease, other than in the ordinary course of business, property of the estate.”

                                                                   16 11 U.S.C. § 363(b)(1). Moreover, section 105(a) of the Bankruptcy Code provides that “[t]he court

                                                                   17 may issue any order, process, or judgment that is necessary or appropriate to carry out the

                                                                   18 provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).

                                                                   19               To approve the use, sale or lease of property outside the ordinary course of business, the

                                                                   20 Court must find that such sale is supported by the sound business judgment of the debtor or trustee,

                                                                   21 as the case may be. See In re Martin (Myers v. Martin), 91 F.3d 389, 395 (3d Cir. 1996); In re

                                                                   22 Abbott’s Dairies of Pa., Inc., 788 F.2d 143 (3d Cir. 1986) (requiring good faith purchasing);

                                                                   23 Stephens Indus., Inc. v. McClung, 789 F.2d 386, 391 (6th Cir. 1986); Comm. of Equity Sec. Holders

                                                                   24 v. Lionel Corp., 722 F.2d 1063 (2d Cir. 1983); In re Del. & Hudson Ry. Co., 124 B.R. 169, 176

                                                                   25 (Bankr. D. Del. 1991) (holding that transactions should be approved under section 363(b)(1) when:

                                                                   26 (a) they are supported by the sound business judgment of a debtor’s management; (b) interested

                                                                   27 parties are provided with adequate and reasonable notice; (c) the sale price is fair and reasonable;

                                                                   28 and (d) the purchaser is acting in good faith); In re Ionosphere Clubs, Inc., 100 B.R. 670, 675
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                                                                    1 (Bankr. S.D.N.Y. 1989); and In re Phoenix Steel Corp., 82 B.R. 334, 335 (Bankr. D. Del. 1987)

                                                                    2 (stating that the elements necessary for approval of a section 363 sale in a chapter 11 case are “that

                                                                    3 the proposed sale is fair and equitable, that there is a good business reason for completing the sale

                                                                    4 and the transaction is in good faith.”).

                                                                    5               A trustee’s showing of sound business judgment, in turn, need not be unduly exhaustive;

                                                                    6 instead the trustee is “simply required to justify the proposed disposition with sound business

                                                                    7 reasons.” In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984). Whether or not

                                                                    8 there are sufficient business reasons to justify a sale depends upon the facts and circumstances of

                                                                    9 each case. See Lionel, 722 F.2d at 1071. Bankruptcy courts are given substantial discretion in

                                                                   10 deciding whether to authorize a sale of a debtor’s assets outside of the ordinary course of business.

                                                                   11 See In re Chateaugay Corp., 973 F.2d 141, 144 (2d Cir. 1992).
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                                                                   12               The paramount goal in any proposed sale of property of the estate is to maximize the
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                                                                   13 proceeds received by the estate. See e.g., In re Food Barn Stores, Inc., 107 F.3d 558, 564-65 (8th

                                                                   14 Cir. 2010) (in bankruptcy sales, “a primary objective of the Code [is] to enhance the value of the
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                                                                   15 estate at hand”); In re Integrated Resources, Inc., 147 B.R. 650, 659 (Bankr. S.D.N.Y. 1992) (“It is

                                                                   16 a well-established principle of bankruptcy law that the . . . [trustee’s] duty with respect to such

                                                                   17 sales is to obtain the highest price or greatest overall benefit possible for the estate.”) (quoting

                                                                   18 Cello Bag Co. Inc. v. Champion Int’l Corp. (In re Atlanta Packaging Prods., Inc.), 99 B.R. 124,

                                                                   19 130 (Bankr. N.D. Ga. 1988)); 995 Fifth Ave., Assocs., 96 B.R. 24, 28 (Bankr. S.D.N.Y. 1989). As

                                                                   20 long as the sale appears to enhance a debtor’s estate, court approval of a trustee’s decision to sell

                                                                   21 should only be withheld if the trustee’s judgment is clearly erroneous, too speculative, or contrary

                                                                   22 to the provisions of the Bankruptcy Code. In re Lajijani, 325 B.R. 282, 289 (B.A.P. 9th Cir. 2005);

                                                                   23 GBL Holding Co., Inc. v. Blackburn/Travis/Cole, Ltd., 331 B.R. 251, 255 (N.D. Tex. 2005); In re

                                                                   24 WPRV-TV, Inc., 143 B.R. 315, 319 (D.P.R. 1991) (“The trustee has ample discretion to administer

                                                                   25 the estate, including authority to conduct public or private sales of estate property. Courts have

                                                                   26 much discretion on whether to approve proposed sales, but the trustee’s business judgment is

                                                                   27 subject to great judicial deference.”).

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                                                                    1               The Trustee submits that the sale of the Remnant Assets pursuant to the Purchase

                                                                    2 Agreement represents a prudent and proper exercise of the Trustee’s business judgment under the

                                                                    3 circumstances, and is in the best interests of creditors of the Debtor’s Estate. Specifically, the

                                                                    4 Purchase Agreement was negotiated at arm’s length and in good faith, and the Trustee believes that

                                                                    5 the Purchase Price is reasonable and represents fair value. Other than the Litigation described

                                                                    6 above, the Trustee is not aware of any future assets or claims that may be liquidated, obtained

                                                                    7 or otherwise administered, and absent the sale to Oak Point, the Debtor’s Estate would not realize

                                                                    8 any benefit on account of the Remnant Assets. As to the potential rights pursuant to the Litigation,

                                                                    9 the settlement that was previously reached is on appeal, and it is highly uncertain when the

                                                                   10 Litigation will be resolved and whether the Debtor will in fact be the recipient of any funds. The

                                                                   11 benefit of receiving immediate payment for the Remnant Assets, which are largely unknown,
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                                                                   12 outweighs the potential benefit of retaining the Remnant Assets. Finally, the Trustee believes that
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                                                                   13 the cost of pursuing the Remnant Assets will likely exceed the benefit that the Estate would possibly

                                                                   14 receive. Therefore, the Trustee respectfully requests that the Court approve the sale of the Remnant
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                                                                   15 Assets to Oak Point.

                                                                   16 VI.           THE TRUSTEE MAY SELL THE REMNANT ASSETS FREE AND CLEAR OF

                                                                   17               LIENS, CLAIMS AND ENCUMBRANCES

                                                                   18               The Trustee seeks this Court's authority to sell the Remnant Assets free and clear of liens

                                                                   19 pursuant to 11 U.S.C. § 363(f) of the Bankruptcy Code, which provides that:

                                                                   20
                                                                                    [t]he trustee may sell property. . . free and clear of any interest in such property of
                                                                   21               an entity other than the estate, only if _. . .

                                                                   22                      (1)     applicable nonbankruptcy law permits sale of such property free and
                                                                                           clear of such interest;. . .
                                                                   23
                                                                                           (2)     such entity consents;. . .
                                                                   24
                                                                                           (3)     such interest is a lien and the price at which such property is to be
                                                                   25                      sold is greater than the aggregate value of all liens on such property;

                                                                   26                      (4)     such interest is in bona fide dispute; or

                                                                   27                      (5)    such entity could be compelled, in a legal or equitable proceeding, to
                                                                                           accept a money satisfaction of such interest.
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                                                                    1 Because subsections (1) through (5) of Bankruptcy Code § 363(f) are written in the disjunctive,

                                                                    2 authority to sell the Remnant Assets free and clear of any and all interests therein should be granted

                                                                    3 if any of the conditions are met with respect to each interest holder.

                                                                    4               To the extent that there are interests that may be asserted in the Remnant Assets, the Trustee

                                                                    5 believes that one or more of the aforementioned conditions have been satisfied. Other than Wells

                                                                    6 Fargo Bank, N.A. (“Wells Fargo”), the Trustee has received no notice of any such claim, lien or

                                                                    7 interest and reasonably believes that any asserted lien, claim or interest would be in bona fide

                                                                    8 dispute. Moreover, the Trustee intends to notify interested parties through the notice of the motion

                                                                    9 in accordance with this Court’s order limiting notice of certain matters (dkt. no. 595). Any party

                                                                   10 objecting to the sale may file their objection and be heard at the hearing on the Motion. If there is

                                                                   11 no objection, the parties will be deemed to have consented to the sale of the Remnant Assets. See
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                                                                   12 Veltman v. Whetzal, 93 F.3d 517 (8th Cir. 1996) (failure to object to proposed sale, coupled with
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                                                                   13 agreement authorizing sale free of interest, constituted consent); In re Tabore, Inc., 175 B.R. 855

                                                                   14 (Bankr. D. N.J. 1994) (failure to object to notice of sale or attend hearing deemed consent to sale
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                                                                   15 for purposes of § 363); In re Shary, 152 B.R. 724 (Bankr. N.D. Ohio 1993) (state’s failure to object

                                                                   16 to transfer of liquor license constituted consent to sale). Thus, pursuant to 11 U.S.C. § 363(f)(2),

                                                                   17 the Trustee may sell the Remnant Assets free and clear of any lien, claim or encumbrance of

                                                                   18 entities who fail to object because the noticed parties will be deemed to have consented to the sale

                                                                   19 of the Remnant Assets if they make no objections to the sale.

                                                                   20               As to the Purchase Price received by the Trustee, those proceeds will be disbursed in

                                                                   21 accordance with the prior agreement reached between the Debtor and Wells Fargo during the

                                                                   22 chapter 11 case. As such, the Trustee believes Wells Fargo will consent to the sale.

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                                                                    1 VII.          OAK POINT SHOULD BE DEEMED A “GOOD FAITH PURCHASER”

                                                                    2               PURSUANT TO 11 U.S.C. § 363(M)

                                                                    3               Section363(m) of the Bankruptcy Code provides:

                                                                    4
                                                                                    The reversal or modification on appeal of an authorization under subsection (b) or
                                                                    5               (c) of this section of a sale or lease of property does not affect the validity of a sale
                                                                                    or lease under such authorization to an entity that purchased or leased such property
                                                                    6               in good faith, whether or not such entity knew of the pendency of the appeal, unless
                                                                                    such authorization and such sale or lease were stayed pending appeal.
                                                                    7

                                                                    8               A good faith buyer “is one who buys ‘in good faith’ and ‘for value.’” Ewell v. Diebert (In

                                                                    9 re Ewell), 958 F.2d 276, 281 (9th Cir. 1992) (citing In re Abbotts Dairies of Pennsylvania, Inc.,

                                                                   10 788 F.2d 143, 147 (3d Cir. 1986)). “[L]ack of good faith is [typically] shown by ‘fraud, collusion

                                                                   11 between the purchaser and other bidders or the trustee, or an attempt to take grossly unfair
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                                                                   12 advantage of other bidders.’” Id. (quoting Community Thrift & Loan v. Suchy (In re Suchy), 786
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                                                                   13 F.2d 900, 902 (9th Cir. 1985)).

                                                                   14               Oak Point should be deemed a good faith purchaser. Oak Point is buying in good faith and
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                                                                   15 has offered what the Trustee believes to be fair value for the Remnant Assets. The anticipated sale

                                                                   16 of the Remnant Assets has been negotiated with Oak Point in “arms’-length” discussions. See

                                                                   17 Declaration. Moreover, the sale will be properly publicized on the Court’s website and is subject to

                                                                   18 overbid. Based on such facts and circumstances, the Trustee believes that this Court can properly

                                                                   19 determine Buyer as a “good faith purchaser” pursuant to 11 U.S.C. § 363(m).

                                                                   20 VIII. THE COURT HAS THE AUTHORITY TO IMPLEMENT THE PROPOSED

                                                                   21               OVERBID PROCEDURES

                                                                   22               Implementation of the bidding procedures is an action outside of the ordinary course of

                                                                   23 business. 11 U.S.C. § 363(b)(1) provides that a trustee “after notice and hearing, may use, sell or

                                                                   24 lease, other than in the ordinary course of business, property of the estate.” Furthermore, under 11

                                                                   25 U.S.C. § 105(a), “[t]he court may issue any order, process, or judgment that is necessary or

                                                                   26 appropriate to carry out the provisions of this title.” Thus, pursuant to §§ 363(b)(1) and 105(a), this

                                                                   27 Court may authorize the implementation of overbidding procedures. The bankruptcy court may

                                                                   28 issue orders determining the terms and conditions for overbids with respect to a sale of estate
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                                                                    1 assets, including specifying the minimum consideration required for an overbid, the particular

                                                                    2 contractual terms required to be offered by overbidders, and requiring and setting the amount of

                                                                    3 potential overbidder’s deposits. In re Crown Corporation, 679 F.2d 774 (9th Cir. 1982).

                                                                    4               The Trustee’s proposed Bidding Procedures are appropriate and should be approved by the

                                                                    5 Court. Here, the overbid procedures proposed by the Trustee are fair and reasonable under the

                                                                    6 circumstances. Additionally, the proposed overbid procedures will ensure the sale generates the

                                                                    7 greatest possible value to the Estate. Courts have also routinely held that when the sale of assets in

                                                                    8 bankruptcy is done on a competitive bidding basis, as is proposed herein, it is appropriate to require

                                                                    9 parties submitting competing bids to submit bids that exceed the existing bid by a specified

                                                                   10 amount. See, e.g., In re Financial News Network Inc., 931 F.2d 217 (2d Cir. 1991). Oak Point has

                                                                   11 expended, and will continue to expend, considerable time, money, and energy pursuing the
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                                                                   12 purchase of the Remnant Assets as proposed herein, and has engaged in good faith, arm’s length
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                                                                   13 negotiations with the Trustee.

                                                                   14 IX.           TAX CONSEQUENCES OF THE SALE
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                                                                   15               The Trustee does not anticipate that the sale will create any tax consequences for the Estate.

                                                                   16 See Declaration.

                                                                   17 X.            WAIVER OF STAY OF ORDER

                                                                   18               To successfully implement the Purchase Agreement, the Trustee also seeks a waiver of the

                                                                   19 fourteen-day stay under Bankruptcy Rule 6004(h). Under Rule 6004(h), an order authorizing the

                                                                   20 sale of property is stayed for 14 days after the entry of the order, unless the court orders otherwise.

                                                                   21 Fed. R. Bankr. P. 6004(h). The Advisory Committee Note states that the court may, in its

                                                                   22 discretion, order that the stay is inapplicable so that the sale or assumption may take place

                                                                   23 immediately upon entry of the order. Fed. R. Bankr. P. 6004(g) Advisory Committee’s Note.

                                                                   24               Here, the waiver of the stay imposed by Rule 6004(h) is appropriate. The Court’s order

                                                                   25 granting this Motion must become a final order before the proposed sale can close. Accordingly, the

                                                                   26 Trustee requests that the Court waive the stay imposed by Rule 6004(h).

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                                                                    1 XI.           APPROPRIATE NOTICE OF THE SALE IS PROPOSED

                                                                    2               The Trustee proposes to provide notice of the sale to be posted by the Clerk’s Office and to

                                                                    3 serve notice of the sale on the Debtor, the Office of the United States Trustee, Oak Point, and all

                                                                    4 interested parties entitled to notice in accordance with this Court’s order limiting notice of certain

                                                                    5 matters (dkt. no. 595). The Trustee submits, and requests that this Court determine, that such

                                                                    6 notice is proper and adequate; no further notice is required; and that other and further notice be

                                                                    7 waived. The Trustee submits, and requests that this Court determine, that such notice is proper and

                                                                    8 adequate; no further notice is required; and that other and further notice be waived.

                                                                    9 XII.          CONCLUSION

                                                                   10               Based on the foregoing, the Trustee respectfully requests that this Court enter an order:

                                                                   11               1.     Granting the Motion;
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12               2.     Approving the terms of the Purchase Agreement attached to the Declaration as
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Exhibit A;

                                                                   14               3.     Approving the Bidding Procedures;
                              Tel 714-966-1000




                                                                   15               4.     Finding that the Purchase Agreement and Bidding Procedures are fair and

                                                                   16 reasonable;

                                                                   17               5.     Authorizing the Trustee, pursuant to 11 U.S.C. § 363(b) and (f), to sell the Remnant

                                                                   18 Assets to Oak Point for the Purchase Price ($15,000) as provided in the Motion, free and clear of

                                                                   19 any and all liens, claims, interests, and encumbrances, with such liens, claims, interests, and

                                                                   20 encumbrances to attach to the proceeds of the Sale with the same force, effect, and priority as such

                                                                   21 liens, claims, interests and encumbrances have on the Estate’s right to the Remnant Assets, as

                                                                   22 appropriate, subject to the rights and defenses of the Trustee and any party in interest with respect

                                                                   23 thereto;

                                                                   24               6.     Authorizing the Trustee and the Trustee’s professionals to take such actions as are

                                                                   25 necessary to effectuate the terms of the Purchase Agreement, together with all additional

                                                                   26 instruments and documents that may be reasonably necessary to implement the Purchase

                                                                   27 Agreement;

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                                                                    1               7.   Granting Oak Point the protections provided to a good faith purchaser under 11

                                                                    2 U.S.C. § 363(m);

                                                                    3               8.   Waiving the fourteen-day stay under Bankruptcy Rule 6004(h); and

                                                                    4               9.   Granting such other and further relief as the Court deems just and proper.

                                                                    5                                                      Respectfully submitted,

                                                                    6 Dated: June 27, 2022                                 WEILAND GOLDEN GOODRICH LLP

                                                                    7

                                                                    8                                                      By: /s/ Beth E. Gaschen
                                                                                                                               JEFFREY I. GOLDEN
                                                                    9                                                          BETH E. GASCHEN
                                                                                                                               Attorneys for Chapter 7 Trustee
                                                                   10                                                          Weneta M.A. Kosmala

                                                                   11
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




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                              Tel 714-966-1000




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                                                                    1                                DECLARATION OF WENETA M.A. KOSMALA

                                                                    2

                                                                    3               I, Weneta M.A. Kosmala, declare as follows:

                                                                    4               1.     I am the duly appointed and acting chapter 7 trustee for the bankruptcy estate of

                                                                    5 Styles For Less, Inc. Except as otherwise stated, I have personal knowledge of the facts set forth in

                                                                    6 this Declaration and, if called as a witness, could and would testify competently to such facts under

                                                                    7 oath. I make this Declaration in support of the Motion of Chapter 7 Trustee for an Order

                                                                    8 Approving the Sale of Certain Assets of the Debtor’s Estate Free and Clear of Liens, Claims,

                                                                    9 Interests and Encumbrances and Related Relief (“Motion”).4

                                                                   10               2.     According to the Court’s docket, on or about November 6, 2017, the Debtor filed a

                                                                   11 voluntary petition for relief under chapter 11 of the Bankruptcy Code. On or about September 11,
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 2018, the Debtor’s bankruptcy case was converted to one under chapter 7 of the Bankruptcy Code,
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 and on or about September 12, 2018, I was appointed as chapter 7 trustee for the Debtor’s Estate.

                                                                   14               3.     Since being appointed, I have administered the Debtor’s Estate for the benefit of its
                              Tel 714-966-1000




                                                                   15 creditors in accordance with my power and duties. I am now in the process of winding down the

                                                                   16 administration of this case. To that end, I have engaged in efforts to ensure that the maximum

                                                                   17 value of the Estate’s remaining assets is realized, which efforts include pursuing the sale of any

                                                                   18 remaining assets.

                                                                   19               4.     I have determined that there might exist property of the Debtor’s Estate, consisting

                                                                   20 of known or unknown assets or claims, which have not been previously sold, assigned, or

                                                                   21 transferred (“Remnant Assets”).

                                                                   22               5.     I have conducted due diligence and am aware of one potential Remnant Asset. The

                                                                   23 Estate is a class member in, and a potential beneficiary of, the Litigation in which all businesses

                                                                   24 that accepted Visa and/or MasterCard between January 2004 and January 2019 are eligible

                                                                   25 claimants. If there is a judgment in favor of the plaintiffs in the Litigation and such Litigation

                                                                   26 results in a settlement, or the Litigation and the operative facts, causes of action and/or types of

                                                                   27

                                                                   28       4
                                                                                All capitalized terms not defined herein shall have the same meaning as ascribed to them in the Motion.
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                                                                    1 claims for relief alleged therein are otherwise resolved in any way or by any forum in favor of

                                                                    2 putative class members, the Estate may be entitled to a monetary recovery. As a member of the

                                                                    3 Class in the Litigation, I have a right, now or in the future, to benefits arising from the Litigation,

                                                                    4 including the right to a monetary recovery. The settlement of the Litigation currently is on appeal,

                                                                    5 and the timing of the resolution of that appeal and/or the Litigation is uncertain. This asset was not

                                                                    6 listed by the Debtor in its bankruptcy schedules.

                                                                    7               6.    I received a previous offer on the Litigation that was withdrawn.

                                                                    8               7.    I have determined that the cost of pursuing the Remnant Assets will likely exceed

                                                                    9 the benefit that the Estate would possibly receive on account of the Remnant Assets.

                                                                   10               8.    As set forth in the Motion, subject to Court approval, I have entered into the

                                                                   11 Purchase Agreement with Oak Point, to purchase the Estate’s right, title, and interest in and to the
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 Remnant Assets. A true and correct copy of the Purchase Agreement with Oak Point is attached
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 hereto as Exhibit “A.”

                                                                   14               9.    Oak Point has agreed to pay $15,000 (“Purchase Price”) for the Remnant Assets. I
                              Tel 714-966-1000




                                                                   15 believe that the Purchase Price for the Remnant Assets is reasonable, for fair value, and was

                                                                   16 negotiated at arm’s length and in good faith.

                                                                   17               10.   I have not been contacted by any potential overbidders for the Remnant Assets, and

                                                                   18 I do not believe that there are any viable alternative purchasers for the Remnant Assets.

                                                                   19               11.   I do not anticipate that the sale will create any tax consequences for the Estate.

                                                                   20               12.   The sale is subject to overbid to ensure that the highest and best price is received for

                                                                   21 the Remnant Assets.

                                                                   22               13.   As to the Purchase Price, those proceeds will be disbursed in accordance with the

                                                                   23 prior agreement reached between the Debtor and Wells Fargo during the chapter 11 case.

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                                                                    1               15.    Oak Point is buying in good faith and has offered fair value for the Remnant Assets.

                                                                    2 The anticipated sale of the Remnant Assets has been negotiated with Oak Point in “arms’-length”

                                                                    3 discussions.

                                                                    4                                 nalty of perjury that the foregoing is true and correct.
                                                                                    I declare under penalty

                                                                    5               Executed on this            day of June, 2022, at ____________, _________
                                                                                                                                                    ______________.

                                                                    6

                                                                    7
                                                                                                                                                           Kosmala
                                                                                                                                               Weneta M.A. Kos
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                                                                   11
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




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                              Tel 714-966-1000




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                                    ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of June 24  __, 2022, is
by and between WENETA M.A. KOSMALA, not individually, but solely as chapter 7 trustee
(“Trustee” or “Seller”) for the BANKRUPTCY ESTATE (“Estate”) of STYLES FOR LESS, INC.
(“Debtor”), and OAK POINT PARTNERS, LLC (“Purchaser”).

                                               WITNESSETH:

        WHEREAS, on or about November 6, 2017, the Debtor filed a voluntary petition for relief under
chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Central District of
California, Santa Ana Division (“Court”), assigned Case No. 8:17-bk-14396-MW;1 and

        WHEREAS, on or about September 11, 2018, the Debtor’s bankruptcy case was converted to a
case under chapter 7 of the Bankruptcy Code, and on or about September 12, 2018, the Trustee was
appointed as chapter 7 trustee of the Debtor’s Estate; and

        WHEREAS, at the time of the execution of this Agreement and continuing into the future, there
may be property of the Estate remaining, consisting of known or unknown assets or claims which have
not been previously sold, assigned, or transferred (collectively, “Remnant Assets”); and

         WHEREAS, Remnant Assets specifically exclude: (a) cash held at the time of this Agreement in
the Seller’s fiduciary bank account for the Debtor’s case; provided, however, that any cash that exists in
such bank account one year from the date of the closing of the Debtor’s case, except as provided in sub
provision (b) herein, shall be Remnant Assets; (b) any returned or undeliverable creditor claim
distribution checks that require administration in accordance with 11 U.S.C. § 347(a); (c) any and all
Goods2 (e.g., office furniture) of the Debtor; (d) the books and records used by the Debtor in the ordinary
course of business, but excluding any recent statements, notices or correspondence received by the Seller
relating to Remnant Assets specifically acquired in this Agreement; and (e) the Purchase Price (as
hereinafter defined) to be delivered pursuant hereto; and

          WHEREAS, subject to Court approval, Seller has the power and authority to sell and assign all
right, title and interest in and to the Remnant Assets to Purchaser, including, but not limited to the
proceeds thereof.

        NOW THEREFORE, in consideration of the promises and mutual undertakings herein
contained, Seller and Purchaser agree as follows:

1. Purchase Price. The Purchase Price shall be good funds in the amount of Fifteen Thousand and
No/100 Dollars ($15,000.00) payable within 3 business days of receipt by Purchaser of this executed
Agreement and the entry of a non-appealable Order of the Court approving this Agreement.

2. Assignment of Remnant Assets. Seller hereby irrevocably and unconditionally sells, assigns,
transfers and conveys to Purchaser all of Seller’s right, title and interest under, in and to the Remnant
Assets, as well as any and all claims and rights related to the Remnant Assets, including, without
limitation, all cash, securities, instruments and other property that may be paid or issued in conjunction
with the Remnant Assets and all amounts, interest, and costs due under the Remnant Assets.

1
  Pursuant to the Administrative Order 22-04 dated February 10, 2022, the case was reassigned to the Honorable
Erithe A. Smith, Case No. 8:17-bk-14396-ES.
2
  The term “Goods” as used herein shall have the meaning ascribed to it under § 9-102(a)(44) of the Uniform
Commercial Code.
                                                                                                                 1


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3. Authority to Sell. Subject to Court approval, the sale of the Remnant Assets by Seller is made
pursuant to the authority vested in Seller.

4. Payments Received on Remnant Assets. Seller further agrees that any payments received by Seller
on account of any Remnant Assets shall constitute property of Purchaser to which Purchaser has an
absolute right, and that Seller will promptly deliver such payment to Purchaser at Purchaser’s address set
forth below. Seller agrees to use reasonable efforts to forward to Purchaser notices received with respect
to any Remnant Assets.

5. Seller’s Representations and Warranties. In consideration of Purchaser’s agreements herein and to
induce Purchaser to enter into this Agreement, Seller represents and warrants to Purchaser that Seller has
full lawful right, title, power and authority to enter into this Agreement and to convey Seller’s interest to
Purchaser in the Remnant Assets as is set forth in this Agreement.

EXCEPT AS SPECIFICALLY SET FORTH HEREIN, SELLER SELLS, ASSIGNS, AND
TRANSFERS THE REMNANT ASSETS TO PURCHASER “AS IS, WHERE IS” WITHOUT
ANY REPRESENTATIONS OR WARRANTIES WHATSOEVER, WHETHER EXPRESS,
IMPLIED OR IMPOSED BY LAW.

6. Free and Clear Sale. The sale of Remnant Assets shall be free and clear of any liens, claims, or
encumbrances pursuant to 11 U.S.C. § 363(f).

7. No Assumption of Liabilities. Notwithstanding any other provision of this Agreement, the parties
agree that Purchaser is acquiring only the Remnant Assets and rights and interests related thereto, and that
Purchaser is not acquiring or assuming, nor shall it be deemed to have acquired or assumed, any liabilities
or obligations, including lien obligations, of Seller or its affiliates of any kind or nature, whatsoever,
whether known or unknown, existent or future, arising out of, or in connection with, the Remnant Assets,
except as may otherwise expressly be provided herein.

8. Documents of Assignment. From time to time upon request from Purchaser, Seller shall execute and
deliver to Purchaser such documents reasonably requested by Purchaser to evidence and effectuate the
transfer contemplated by this Agreement in a form reasonably acceptable to the parties hereto. However,
Purchaser shall reimburse Seller for its reasonable costs associated with such compliance.

9. Limited Power of Attorney. Solely with respect to the Remnant Assets, and to the extent permitted
by law, Seller hereby irrevocably appoints Purchaser as its true and lawful attorney and authorizes
Purchaser to act in Seller’s stead, to demand, sue for, compromise and recover all such amounts as now
are, or may hereafter become, due and payable for or on account of the Remnant Assets herein assigned.
Seller grants unto Purchaser full authority to do all things necessary to enforce the transfer of the
Remnant Assets to Purchaser and its rights thereunder pursuant to this Agreement.

10. Entire Agreement. This Agreement embodies the entire agreement and understanding between
Seller and Purchaser and supersedes any and all prior agreements and understandings with respect to the
subject matter hereof. This Agreement may not be amended or in any manner modified unless such
amendment or modification is in writing and signed by both parties.

11. Benefits and Binding Effect. All provisions contained in this Agreement or any document referred
to herein or relating hereto shall inure to the benefit of and shall be binding upon the respective successors
and assigns of Seller and Purchaser.

12. Governing Law. This Agreement shall be governed by and construed in accordance with the internal
laws of the State of California, without giving effect to choice of law principles of the State of California.

                                                                                                            2

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13. Counterparts. This Agreement may be executed in one or more counterparts, each of which shall be
deemed an original but all of which together will constitute one and the same instrument, and copies or
facsimiles of execution signatures shall be equivalent to original signatures.

THIS AGREEMENT has been duly executed as of the day and year first above written.



OAK POINT PARTNERS, LLC

By: ______________________________
Name: ERIC LINN
Its: President

Address (for regular mail and mail forwarding): PO Box 1033, Northbrook, IL 60065-1033
Address (for overnight delivery): 5215 Old Orchard Road, Suite 1000, Skokie, IL 60077
Tel (847) 577-1269      Fax (847) 655-2746



STYLES FOR LESS, INC. BANKRUPTCY ESTATE

By: ______________________________
Name: WENETA M.A. KOSMALA
Its: Chapter 7 Trustee

Address: c/o Law Offices of Weneta M.A. Kosmala, 4425 Jamboree, Suite 183, Newport Beach, CA
92660
Tel (714) 708-8190      Fax (949) 382-1445       Email: wkosmala@kosmalalaw.com




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  650 Town Center Drive, Suite 600, Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION OF CHAPTER
7 TRUSTEE FOR AN ORDER APPROVING SALE OF CERTAIN ASSETS OF THE DEBTOR’S ESTATE FREE AND
CLEAR OF LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES PURSUANT TO 11 U.S.C. §§ 105 AND 363 AND
RELATED RELIEF will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 27, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                         X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) June 27, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         X Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
____________________________, I served the following persons and/or entities by personal delivery, overnight mail
service, or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
no later than 24 hours after the document is filed.




                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  June 27, 2022                  Gloria Estrada
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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I. SERVED TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Anerio V Altman LakeForestBankruptcy@jubileebk.net, lakeforestpacer@gmail.com
     Kyra E Andrassy kandrassy@swelawfirm.com,
       lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
     Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
     Bernard D Bollinger bbollinger@buchalter.com, IFS_filing@buchalter.com;smartin@buchalter.com
     Dustin P Branch branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com
     Ronald K Brown ron@rkbrownlaw.com
     Eric W Burkhardt castlesb@aol.com, carissa@beallandburkhardt.com
     John P Dillman houston_bankruptcy@publicans.com
     Glen Dresser gombd@aol.com
     Beth Gaschen bgaschen@wgllp.com,
       kadele@wgllp.com;cbmeeker@gmail.com;cyoshonis@wgllp.com;lbracken@wgllp.com;bgaschen@ecf.courtdrive.
       com;gestrada@wgllp.com
     Jeffrey I Golden jgolden@wgllp.com,
       kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com
     Leon B
       Gordon bankruptcy@mvbalaw.com;jwilliams@mvbalaw.com;alocklin@mvbalaw.com;tleday@ecf.courtdrive.co
       m;kmorriss@mvbalaw.com
     Josephine Groh jgroh@wwhgd.com
     Steven T Gubner sgubner@bg.law, ecf@bg.law
     Brian T Harvey bharvey@buchalter.com, IFS_filing@buchalter.com;dbodkin@buchalter.com
     Michael J Hauser michael.hauser@usdoj.gov
     Garrick A Hollander ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
     Brian D Huben hubenb@ballardspahr.com, carolod@ballardspahr.com
     William W Huckins whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
     Courtney J Hull bk-chull@oag.texas.gov, sherri.simpson@oag.texas.gov
     Weneta M.A. Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
       wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
     Kenneth T Law ken@bbslaw.com
     Andrew B Levin ablevin@mintz.com,
       Meir@virtualparalegalservices.com;pj@wcghlaw.com;jmartinez@wcghlaw.com
     Wendy A Loo wendy.loo@lacity.org
     Robert S Marticello Rmarticello@swelawfirm.com,
       gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
     Byron B Mauss bmauss@swlaw.com, idelgado@swlaw.com
     Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
     Christopher C Miles christopher.miles@huschblackwell.com
     Kevin M Newman knewman@barclaydamon.com, kmnbk@barclaydamon.com;kevin-newman-
       8809@ecf.pacerpro.com
     Sean A OKeefe sokeefe@okeefelc.com, seanaokeefe@msn.com
     Marvin Maurice Oliver moliverlaw@mindspring.com, r46425@notify.bestcase.com
     John D Ott Jott@jdolawyers.com
     Ernie Zachary Park ernie.park@bewleylaw.com
     Kristen N Pate bk@bpretail.com
     Jennifer Pruski jpruski@trainorfairbrook.com
     Michael A Shakouri mshakouri@goodkinlaw.com, rnolan@pdv-llc.com
     Michelle E Shriro mshriro@singerlevick.com, scotton@singerlevick.com
     Valerie Smith claims@recoverycorp.com
     Owen M Sonik osonik@pbfcm.com, tpope@pbfcm.com
     Don Stecker don.stecker@lgbs.com
     Corey E Taylor corey@taylorlawoc.com
     Robert C Thorn terry.devlin@kts-law.com
     Leslie A Tos Ltos@farmerandready.com, smeyer@farmerandready.com

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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       Ronald M Tucker rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Renee B Weiss rweiss@ddr.com
       Elizabeth Weller Dora.Casiano-Perez@lgbs.com
       Eric R Wilson kdwbankruptcydepartment@kelleydrye.com, MVicinanza@ecf.inforuptcy.com
       Marc J Winthrop mwinthrop@wghlawyers.com, jmartinez@wghlawyers.com
       Helen Wong helenwong.law@gmail.com


II. SERVED BY U.S. MAIL:
United States Trustee                                 DDR Palm Valley Pavilions, LLC                         KC Exclusive, Inc. dba Zenana
411 W. Fourth Street, Suite 7160                      Attn: Managing Member                                  c/o Lee, Han & Paciocco LLP
Santa Ana, CA 92701-4593                              3300 Enterprise Parkway                                660 S. Figueroa St., Suite 1960
                                                      Beachwood, OH 44122                                    Los Angeles, CA 90017
Oak Point Partners, LLC
Attn: Eric Linn                                       BRE DDR BR Eastland CA LLC                             Rancho Northwest Crossing, LLC
5215 Old Orchard Rd., Suite 1000                      Attn: Managing Member                                  c/o USA Properties, Inc.
Skokie, IL 60077                                      3300 Enterprise Parkway                                Attn: Michael Kucinski
                                                      Beachwood, OH 44122                                    476 Broadway
Oak Point Partners, LLC                                                                                      Chula Vista, CA 91910
Attn: Eric Linn                                       BPP Southern Palm LLC
P.O. Box 1033                                         c/o Linda Madway, Esq.                                 Sand Creek Crossing, PC
Northbrook, IL 60065                                  Senior Vice President & General                        800 S. Broadway, Suite 200
                                                      Counsel                                                Walnut Creek, CA 94596
Styles for Less, Inc.                                 Shopcore Properties
Attn: Officer/Agent                                   307 Fellowship Rd., Ste. 116                           Teachers Insurance and Annuity
620 Via Lido Sound                                    Mount Laurel, NJ 08054                                 Associate of America
Newport Beach, CA 92663                                                                                      c/o Allen Matkins Leck Gamble, et
                                                      BPP Southern Palm LLC                                  al.
20 Largest Unsecured Creditors                        c/o Kelly Drye & Warren LLP                            Attn: Ivan M. Gold
Emma Footwear Int’l Corp.                             Attn: Robert L. LeHane, Esq.                           3 Embarcadero Center, 12th Floor
c/o Coface North America                              101 Park Avenue                                        San Francisco, CA 94111
Insurance Company                                     New York, NY 10178
50 Millstone Rd., Bldg. 100, Ste.                                                                            Emily Greene
360                                                   Ambiance USA, Inc. dba                                 c/o Paul Haines
East Windsor, NJ 08520                                Ambiance Apparel                                       222 N. Sepulveda Blvd., Ste. 1550
                                                      Attn: Officer/Agent                                    El Segundo, CA 90245
Meadowood Mall, SPE, LLC                              2415 E. 15th Street
c/o Simon Property Group, LP                          Los Angeles, CA 90021                                  State of Nevada Dept. of Taxation
225 West Washington St.                                                                                      555 E. Washington Ave., Ste. 1300
Indianapolis, IN 46204                                Sarm Five Points Plaza, LLC                            Las Vegas, NV 89101
                                                      Attn: Managing Member
Eastvale Gateway III, LLC                             8905 Town Center Drive, Ste. 108                       Adam Tala Inc.
WLPX Hesperia, LLC                                    San Diego, CA 92122                                    Attn: Arian Parvizi, Vice President
c/o Lewis Management Corp.                                                                                   733 S. Spring St.
Mario A. Pichardo                                     Pacific Carmel Mountain Holdings,                      Los Angeles, CA 90014
1156 N. Mountain Ave.                                 L.P.
Upland, CA 91786                                      c/o American Assets Trust                              State of Florida – Dept. of
                                                      Management, LLC                                        Revenue
Anthem Blue Cross                                     11455 El Camino Real, Suite 200                        c/o Frederick F. Rudzik, Esq.
21555 Oxnard Street                                   San Diego, CA 92130                                    P.O. Box 6668
Woodland Hills, CA 91367                                                                                     Tallahassee, FL 32314-6668
                                                      PBA II, LLC
August Deangelo II                                    c/o Ballard Spahr LLP
620 Via Lido Soud                                     Attn: Dustin P. Branch
Newport Beach, CA 92663                               2029 Century Park East, Suite 800
                                                      Los Angeles, CA 90067
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Secured Creditors                                     Galveston County                                       The County of Hays, Texas
Los Angeles County Treasurer &                        c/o Linebarger Goggan Blair &                          c/o McCreary, Veselka, Bragg &
Tax Collector                                         Sampson, LLP                                           Allen, P.C.
Attn: Oscar Estrada, Tax Services                     Attn: John P. Dillman                                  Attn: Lee Gordon
Specialist                                            PO Box 3064                                            P.O. Box 1269
PO Box 54110                                          Houston, TX 77253-3064                                 Round Rock, TX 78680-1269
Los Angeles, CA 90054
                                                      Cypress – Fairbanks ISD                                San Marcos CISD
Riverside County Treasurer-Tax                        c/o Linebarger Goggan Blair &                          Attn: Diane W. Sanders
Collector                                             Sampson, LLP                                           P.O. Box 17428
4080 Lemon St., 4th Floor                             Attn: John P. Dillman                                  Austin, TX 78760
Riverside, CA 92501                                   PO Box 3064
                                                      Houston, TX 77253-3064                                 Rockwall CAD
The County of Williamson Texas,                                                                              c/o Linebager Goggan Blair &
et al.                                                Fort Bend County                                       Sampson, LLP
c/o McCreary, Veselka, Bragg &                        c/o Linebarger Goggan Blair &                          Attn: Elizabeth Weller
Allen, P.C.                                           Sampson, LLP                                           2777 N. Stemmons Freeway, Ste.
Attn: Lee Gordon                                      Attn: John P. Dillman                                  1000
P.O. Box 1269                                         PO Box 3064                                            Dallas, TX 75207
Round Rock, TX 78680-1269                             Houston, TX 77253-3064
                                                                                                             Travis County
Bexar County                                          Wells Fargo Bank, N.A.                                 c/o Kay D. Brock
c/o Linebarger Goggan Blair &                         c/o Assayag Mauss, LLP                                 P.O. Box 1748
Sampson, LLP                                          Attn: Byron Mauss                                      Austin, TX 78767
711 Navarro St., Ste. 300                             2915 Red Hill Ave., Suite A200
San Antonio, TX 78205                                 Costa Mesa, CA 92626                                   Alief Independent School District
                                                                                                             Attn: Owen M. Sonik
Tarrant County                                        Ellis County                                           1235 North Loop West, Ste. 600
c/o LINEBARGER GOGGAN                                 c/o Linebager Goggan Blair &                           Houston, TX 77008
BLAIR & SAMPSON, LLP                                  Sampson, LLP
Attn: Elizabeth Weller                                Attn: Elizabeth Weller                                 Humble Independent School
2777 N. Stemmons Freeway, Ste.                        2777 N. Stemmons Freeway, Ste.                         District
1000                                                  1000                                                   Attn: Owen M. Sonik
Dallas, TX 75207                                      Dallas, TX 75207                                       1235 North Loop West, Ste. 600
                                                                                                             Houston, TX 77008
Lewisville ISD                                        The County of Brazos, Texas
c/o LINEBARGER GOGGAN                                 c/o McCreary, Veselka, Bragg &                         Tomball Independent School
BLAIR & SAMPSON, LLP                                  Allen, P.C.                                            District
Attn: Elizabeth Weller                                Attn: Lee Gordon                                       Attn: Owen M. Sonik
2777 N. Stemmons Freeway, Ste.                        P.O. Box 1269                                          1235 North Loop West, Ste. 600
1000                                                  Round Rock, TX 78680-1269                              Houston, TX 77008
Dallas, TX 75207
                                                      The County of Comal, Texas                             City of Tomball
Northwest ISD                                         c/o McCreary, Veselka, Bragg &                         Attn: Owen M. Sonik
c/o LINEBARGER GOGGAN                                 Allen, P.C.                                            1235 North Loop West, Ste. 600
BLAIR & SAMPSON, LLP                                  Attn: Lee Gordon                                       Houston, TX 77008
Attn: Elizabeth Weller                                P.O. Box 1269
2777 N. Stemmons Freeway, Ste.                        Round Rock, TX 78680-1269                              Harris County Municipal Utility
1000                                                                                                         District #132
Dallas, TX 75207                                      The County of Denton, Texas                            Attn: Owen M. Sonik
                                                      c/o McCreary, Veselka, Bragg &                         1235 North Loop West, Ste. 600
Harris County, et al.                                 Allen, P.C.                                            Houston, TX 77008
c/o Linebarger Goggan Blair &                         Attn: Lee Gordon
Sampson, LLP                                          P.O. Box 1269
Attn: John P. Dillman                                 Round Rock, TX 78680-1269
PO Box 3064
Houston, TX 77253-3064
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Harris County Municipal Utility                       San Marcos CISD                                        Wells Fargo Bank, N.A.
District #346                                         Attn: Diane W. Sanders                                 Attn: Legal Department
Attn: Owen M. Sonik                                   P.O. Box 17428                                         1000 Lakes Dr., #250
1235 North Loop West, Ste. 600                        Austin, TX 78760                                       West Covina, CA 91790-2916
Houston, TX 77008
                                                      Tarrant County                                         Woolbright Wakeva
West Harris County Municipal                          c/o Linebarger Goggan Blair &                          Attn: Corporate Officer
Utility District #6                                   Sampson, LLP                                           2240 NW 19th St. #801
Attn: Owen M. Sonik                                   Attn: Elizabeth Weller/Laurie                          Boca Raton, FL 33431-7358
1235 North Loop West, Ste. 600                        Spindler
Houston, TX 77008                                     2777 N. Stemmons Frwy Ste. 1000                        Razor Ranch Marketplace
                                                      Dallas, TX 75207                                       Associates, LLC
Fort Bend County Levee                                                                                       Attn: Managing Member
Improvement District #12                              City of Lake Worth                                     4500 Bissonette St., Ste. 300
Attn: Owen M. Sonik                                   500 E Border St., Ste. 640                             Bellaire, TX 77401
1235 North Loop West, Ste. 600                        Arlington, TX 76010
Houston, TX 77008                                                                                            RSN
                                                      Travis County                                          City of Lake Worth & Mansfield
Fort Bend County Municipal Utility                    c/o Kay D. Brock                                       ISD
District #50                                          P.O. Box 1748                                          c/o Eboney Cobb
Attn: Owen M. Sonik                                   Austin, TX 78767                                       Perdue, Brandon, Fielder, Collins
1235 North Loop West, Ste. 600                                                                               & Mott, L.L.P.
Houston, TX 77008                                     Briana Johnson                                         500 E. Border St., Ste. 640
                                                      Clark County Assessor                                  Arlington, TX 76010
Orange County Tax Collector                           P.O. Box 551401
PO Box 545100                                         Las Vegas, NV 89155                                    Island Pacific Systems, Inc.
Orlando, FL 32854                                                                                            c/o Scott F. Gautier/Kevin D. Meek
                                                      Anbil II-Rio, LP                                       Robins Kaplan LLP
Harris County MUD #257                                Attn: Managing Partner                                 2049 Century Park East, Suite
Attn: Ted A. Cox                                      1201 Louisiana St. #440                                3400
2855 Mangum, Ste. 100                                 Houston, TX 77002                                      Los Angeles, CA 90067
Houston, TX 77092
                                                      Sacramento County                                      Sand Creek Crossing, LLC
Dickinson Independent School                          County Counsel                                         c/o Clifford R. Horner
District                                              700 H Street, Suite 2650                               Horner Law Group, PC
Attn: Owen M. Sonik                                   Sacramento, CA 95814                                   800 S. Broadway, Ste. 200
1235 North Loop West, Ste. 600                                                                               Walnut Creek, CA 94596
Houston, TX 77008                                     Crossroads Financial Group, LLC
                                                      Attn: Corporate Officer                                Anthony DiTirro
Brevard County Tax Collector                          200 S. College St., #1400                              Rosenthal & Rosenthal, Inc.
P.O. Box 2500                                         Charlotte, NC 28202-2098                               1370 Broadway
Titusville, FL 32781                                                                                         New York, NY 10018
                                                      State of California
Brevard County Tax Collector                          Employment Development Dept.                           Ikeddi Imports, LLC
P.O. Box 2500                                         800 Capitol Mall                                       c/o Lazarus & Lazarus, P.C.
Titusville, FL 32781                                  Sacramento, CA 95814-4807                              Attn: Harlan M. Lazarus Esq.
Volusia County Revenue Division                                                                              240 Madison Avenue, 8th Floor
Volusia County – Bankruptcy Clerk                     State of Texas Comptroller                             New York, NY 10016
123 W. Indiana Ave., Rm. 103                          LA SVC Center
DeLand, FL 32720                                      17777 Center Court Dr., #700                           Project 28 Clothing LLC
                                                      Cerritos, CA 90703                                     c/o Lazarus & Lazarus, P.C.
City of Baytown                                                                                              Attn: Harlan M. Lazarus Esq.
c/o Randal B. Strong                                  Vicki L. Stocker – NO ADDRESS                          240 Madison Avenue, 8th Floor
407 W. Baker Rd., Ste. T                                                                                     New York, NY 10016
Baytown, TX 77521


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Northwoods Center III, Inc.                           Brixmore Property Group, Inc.
c/o Goodkin & Lynch LLP                               c/o Ballard Spahr LLP
Attn: Michael A. Shakouri, Esq.                       Attn: David L. Pollack, Esq.
1875 Century Park East, Suite                         1735 Market Street, 51st Floor
1860                                                  Philadelphia PA 19103
Los Angeles, CA 90067
                                                      Manteca Lifestyle Center, LLC
DS Properties 17 LP                                   c/o Ballard Spahr LLP
c/o Trainor Fairbrook                                 Attn: Dustin P. Branch, Esq.
Attn: Jennifer L. Pruski Esq.                         2029 Century Park East, Ste. 800
P.O. Box 255824                                       Los Angeles, CA 90067
Sacaramento, CA 95865
                                                      Manteca Lifestyle Center, LLC
DDR Corp.                                             c/o Ballard Spahr LLP
c/o Kelly Drye & Warren LLP                           Attn: David L. Pollack, Esq.
Attn: Robert L. LeHane, Esq.                          1735 Market Street, 51st Floor
101 Park Avenue                                       Philadelphia PA 19103
New York, NY 10178
                                                      Peninsula Boardwalk Associates
Rouse Properties LLC                                  c/o Ballard Spahr LLP
c/o Kelly Drye & Warren LLP                           Attn: Dustin P. Branch, Esq.
Attn: Robert L. LeHane, Esq.                          2029 Century Park East, Ste. 800
101 Park Avenue                                       Los Angeles, CA 90067
New York, NY 10178
                                                      Peninsula Boardwalk Associates
Shopcore Properties, L.P.                             c/o Ballard Spahr LLP
c/o Kelly Drye & Warren LLP                           Attn: David L. Pollack, Esq.
Attn: Robert L. LeHane, Esq.                          1735 Market Street, 51st Floor
101 Park Avenue                                       Philadelphia PA 19103
New York, NY 10178
                                                      Solano Mall, LP
Warland Investment Company                            c/o Ballard Spahr LLP
c/o King & Parret, A.P.C.                             Attn: Dustin P. Branch, Esq.
Attn: Charles W. Parret, Esq.                         2029 Century Park East, Ste. 800
450 Newport Center Drive, Ste.                        Los Angeles, CA 90067
500
Newport Beach, CA 92660                               Solano Mall, LP
                                                      c/o Ballard Spahr LLP
1040 Grant Road Associates III                        Attn: David L. Pollack, Esq.
c/o Ballard Spahr LLP                                 1735 Market Street, 51st Floor
Attn: Dustin P. Branch, Esq.                          Philadelphia PA 19103
2029 Century Park East, Ste. 800
Los Angeles, CA 90067                                 Simon Property Group, Inc.
                                                      Attn: Ronald M. Tucker, Esq.
1040 Grant Road Associates III                        225 West Washington Street
c/o Ballard Spahr LLP                                 Indianapolis, IN 46204
Attn: David L. Pollack, Esq.
1735 Market Street, 51st Floor
Philadelphia PA 19103

Brixmore Property Group, Inc.
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Ste. 800
Los Angeles, CA 90067


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